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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
ROCHESTER DIVISION


INTERNET MEDIA INTERACTIVE
CORP.,
                                                    COMPLAINT FOR PATENT
                                Plaintiff,          INFRINGEMENT

        v.                                          Case No.:

WEGMANS FOOD MARKETS, INC.,                         JURY TRIAL DEMANDED

                                Defendant.


       Plaintiff Internet Media Interactive Corp. (“Internet Media” or “Plaintiff”) complains of

Defendant Wegmans Food Markets, Inc. (“Wegmans” or “Defendant”) as follows, all upon

Plaintiff’s best information and belief:

                                     NATURE OF LAWSUIT

       1.       This is a claim for patent infringement arising under the patent laws of the United

States, Title 35 of the United States Code.

                                             THE PARTIES

       2.       Plaintiff Internet Media Interactive Corp. is a Delaware corporation with its

principal place of business at 3511 Silverside Road, Suite 105, Wilmington, Delaware 19810.

       3.       Internet Media is the named assignee of, owns all right, title and interest in, and has

standing to sue for infringement of United States Patent No. 6,049,835, entitled “System For

Providing Easy Access To The World Wide Web Utilizing A Published List Of Preselected

Internet Locations Together With Their Unique Multi-Digit Jump Codes,” which issued on April

11, 2000 (“the ‘835 Patent”) (a true and correct copy is attached as Exhibit A).
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          4.      Internet Media has the exclusive right to enforce and collect all past damages for

infringement of the ‘835 Patent. Internet Media has standing to sue for infringement of the ‘835

Patent.

          5.      Wegmans Food Markets, Inc. is a New York corporation maintaining its principal

place of business at 1500 Brooks Avenue, Rochester, New York, 14603.

          6.      Defendant Wegmans owns, provides and operates the website www.wegmans.com

and related URLs. Defendant also distributes advertisements through various media that instruct

recipients to enter a code to redirect to a new location. Specifically, Defendant operates the account

“@Wegmans” on Twitter, found at https://twitter.com/Wegmans.

                                  JURISDICTION AND VENUE

          7.      Internet Media’s claim for patent infringement against Defendant arises under the

patent laws of the United States including 35 U.S.C. §§ 271 and 281. Consequently, this Court has

original and exclusive subject matter jurisdiction over this Complaint pursuant to 28 U.S.C. §§

1331 and 1338(a).

          8.      Defendant owns, operates and conducts business in the state of New York and

directs advertisements at residents of New York – which are covered by at least Claim 11 of the

‘835 Patent – and throughout the United States including New York and this judicial district.

          9.      Wegmans Food Markets, Inc. is a registered New York corporation, currently doing

business in this judicial district, has purposefully availed itself of the privilege of conducting

business with residents of this judicial district, has purposefully reached out to residents of this

judicial district, and has established sufficient minimum contacts with the State of New York such

that it should reasonably and fairly anticipate being haled into court in New York.

          10.     Wegmans Food Markets, Inc. has registered itself with the New York Secretary of

State to do business in New York.


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       11.     Wegmans Food Markets, Inc. has established sufficient minimum contacts with the

State of New York such that it should reasonably and fairly anticipate being haled into court in

New York. Further, Defendant maintains headquarters in New York; whereby Defendant has a

regular and established place of business in New York.

       12.     Venue in this judicial district is proper under 28 U.S.C. § 1400(b).

             INFRINGEMENT OF UNITED STATES PATENT NO. 6,049,835

       13.     Defendant has directly infringed the ‘835 Patent at least through its unauthorized

use of the method of Claim 11 for providing automatic access to preselected locations on the

Internet. Defendant alone, or based on the actions of other persons/entities attributable to

Defendant, satisfied each of the limitations of Claim 11 as follows:

               a.     Defendant has published a compilation of information with respect to

       preselected Internet locations (e.g., advertisements on Twitter or other online medium). On

       January 4, 2009, the Delaware District Court in proceedings related to the ‘835 Patent

       construed the similar phrase “a published compilation of preselected Internet locations” to

       mean “a publicly accessible collection of information which corresponds to preselected

       Web sites (or to any other type of preselected data found on the Internet) which have unique

       URL addresses, the URL addresses being associated with diverse individuals or entities.”

       Defendant has published a publicly accessible (e.g., via Twitter or other online medium)

       collection of information which corresponded to preselected Web sites which have unique

       URL addresses (e.g., information about a desired Web site destination of interest to a user),

       the URL addresses having been associated with entities other than Defendant.

               b.     Said published compilation – published by Defendant – included a unique

       predetermined multi-digit jump code assigned to each of said preselected Internet locations

       for which information is published therein (e.g., shortened codes recognized by bit.ly). On


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January 4, 2009, the Delaware District Court also construed the phrase “a unique

predetermined multi-digit jump code” to mean “a unique predetermined code consisting of

more than one number.” Defendant’s published compilation included unique

predetermined multi-digit jump codes consisting of more than one number (e.g., 1bIL7tX).

       c.      Defendant has provided – through its publication of compilations of various

information on Twitter – a predetermined Internet location having an address published in

said published compilation (e.g., bit.ly). On January 4, 2009, the Delaware District Court

also construed the similar phrase “a predetermined published Internet location” to mean “a

predetermined Web site (or any other type of data found on the Internet); (a) which has a

unique URL address included in the published compilation; and (b) which serves to provide

access to other preselected Internet locations.” The predetermined Web site published by

Defendant (a) had a unique URL address (e.g., bit.ly) included in the published

compilation; and (b) which served to provide access to other preselected Internet locations.

Said predetermined Internet location – managed by a link shortening service provider (e.g.,

Bitly) – was characterized by means for capturing a desired multi-digit jump code assigned

to said preselected Internet location such that a multi-digit jump code could be entered by

a user after the predetermined Internet location was accessed.

       d.      The user accessed said predetermined Internet location and entered said

desired multi-digit jump code into said predetermined Internet location. Specifically, by

clicking upon a URL embedded in the published compilation, the user accessed the

predetermined Internet location (e.g., bit.ly) and, thereafter, entered the desired multi-digit

jump code at said predetermined Internet location (e.g., bit.ly). As presently advised,

Defendant is vicariously liable for the user’s performance of this step based on (a)




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      Defendant conditioning participation in an activity (e.g., participating in promotional

      offerings) or receipt of a benefit (e.g., receiving promotional offerings or information of

      interest) upon the performance of this step – which step is required for the user to reach the

      new destination of interest; and (b) Defendant establishing the manner or timing of that

      performance – which, by the nature of the publication and the desired outcome from using

      the jump code to reach a new destination, necessarily requires performance of this step.

             e.      The link shortening service provider (e.g., Bitly) received said multi-digit

      jump code entered into said predetermined Internet location after said multi-digit jump

      code had been captured at said predetermined Internet location. As presently advised,

      Defendant is vicariously liable for a third-party link shortening service provider’s (e.g.,

      Bitly) performance of this step based on the existence of an agreement (see,

      https://bitly.com/pages/terms-of-service) between Bitly and Defendant.

             f.      The link shortening service provider (e.g., Bitly) converted the received

      multi-digit jump code to a URL address corresponding to the desired preselected Internet

      location. As presently advised, Defendant is vicariously liable for a third-party link

      shortening service provider’s (e.g., Bitly) performance of this step based on the existence

      of an agreement (see, https://bitly.com/pages/terms-of-service) between Bitly and

      Defendant.

             g.      The link shortening service provider (e.g., Bitly) automatically accessed

      said desired preselected Internet location using said URL address corresponding to said

      desired preselected Internet location corresponding to said received multi-digit jump code.

      14.    Defendant has directly infringed at least Claim 11 of the ‘835 Patent through the

performance of all steps of the claimed method under the doctrine set forth in Akamai




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Technologies, Inc. v. Limelight Networks, Inc., 797 F.3d 1020 (Fed. Cir. 2015). See also Travel

Sentry, Inc. v. David A. Tropp, 2016-2386 (Fed. Cir. Dec. 19, 2017). Defendant had the right and

ability to stop or limit the infringement, did not do so, and has profited from such infringement.

       15.     The acts of infringement of the ‘835 Patent by Defendant have injured Internet

Media, and Internet Media is entitled to recover damages adequate to compensate it for such

infringement from Defendant, but, in no event less than a reasonable royalty.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Internet Media Interactive Corp. respectfully requests that this

Court enter judgment against Defendant Wegmans Food Markets, Inc. and against its respective

subsidiaries, successors, parents, affiliates, officers, directors, agents, servants, employees and all

persons in active concert or participation with it, granting the following relief:

       A.      The entry of judgment in favor of Internet Media and against Defendant;

       B.      An award of damages against Defendant adequate to compensate Internet Media

for the infringement that has occurred, but in no event less than a reasonable royalty as permitted

under 35 U.S.C. § 284, together with prejudgment interest from the date infringement began; and

       C.      Such other relief to which Internet Media is entitled to under law and any other and

further relief that this Court or a jury may deem just and proper.


                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues presented in this Complaint.




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Dated: August 16, 2018                Respectfully submitted,

                                      s/Timothy J. Haller
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